 Case 6:21-cv-01039-CEM-EJK Document 4 Filed 06/22/21 Page 1 of 2 PageID 13




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

JOSHUA C. SMITH,

                  Plaintiff,

v.                                                  Case No. 6:21-cv-1039-CEM-EJK

MIDLAND CREDIT MANAGEMENT,
INC.,

                  Defendant.
                                     /

                                    ORDER
     THIS CAUSE is before the Court on sua sponte review. To facilitate

compliance with the Local Rules, it is ORDERED as follows:

        1. Within fourteen days from the date of this Order, or if a party joins this

           action subsequent to the entry of this Order, from the date of a party’s

           first appearance, each party shall:

              a. Comply with Local Rule 3.03 and file a Disclosure Statement in

                  the form provided on Judge Mendoza’s page on the Middle

                  District of Florida website. Each party has a continuing

                  obligation to file and serve an amended Disclosure Statement

                  within fourteen days of discovering any ground for amendment,




                                    Page 1 of 2
 Case 6:21-cv-01039-CEM-EJK Document 4 Filed 06/22/21 Page 2 of 2 PageID 14




                   conflict of interest, recusal, or disqualification of the judicial

                   officer.

               b. Comply with Local Rule 1.07(c) and file a Notice of Pendency

                   of Other Actions in the form on Judge Mendoza’s page on the

                   Middle District of Florida website.

         2. The parties are directed to comply with Local Rule 3.02 by utilizing the

            Uniform Case Management Report form, which is available on Judge

            Mendoza’s page on the Middle District of Florida website.

         DONE and ORDERED in Orlando, Florida on June 22, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                     Page 2 of 2
